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                                                           Bart K. Larsen, Esq.
                                                       1   Nevada Bar No. 8538
                                                           Kyle M. Wyant, Esq.
                                                       2   Nevada Bar No. 14652
                                                           SHEA LARSEN
                                                       3   1731 Village Center Circle, Suite 150
                                                           Las Vegas, Nevada 89134
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                                                           Fax: (702) 926-9683
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                                                                    kwyant@shea.law
                                                       6
                                                           Attorneys for HASelect-Medical Receivables
                                                       7   Litigation Finance Fund International SP
                                                       8                            UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11
              1731 Village Center Circle, Suite 150




                                                           INFINITY CAPITAL MANAGEMENT, INC.                   Case No. 21-14486-abl
                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                 Debtor.                       Chapter 7
                        (702) 471-7432




                                                      13

                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND                             Adversary Case No. 21-01167-abl
                                                      15   INTERNATIONAL SP,
                                                      16                         Plaintiff,
                                                      17   v.                                                     STIPULATION REGARDING
                                                                                                                 SERVICING AND COLLECTION
                                                      18   TECUMSEH–INFINITY MEDICAL                              OF ACCOUNTS RECEIVABLE
                                                           RECEIVABLES FUND, LP,
                                                      19
                                                                                Defendant.
                                                      20

                                                      21   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      22
                                                                               Counter-Claimant,
                                                      23
                                                           v.
                                                      24
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      25   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP
                                                      26
                                                                                Counter-Defendants.
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                                                       1   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                       2   INTERNATIONAL SP,
                                                       3                            Counter-Claimant,
                                                       4   v.
                                                       5   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       6
                                                                                    Counter-Defendant.
                                                       7

                                                       8                STIPULATION REGARDING SERVICING AND COLLECTION OF
                                                       9                               ACCOUNTS RECEIVABLE
                                                                   HASelect-Medical Receivables Litigation Finance Fund International SP (“HASelect”)
                                                      10
                                                           and Tecumseh-Infinity Medical Receivable Fund, LP’s (“Tecumseh”), by and through their
                                                      11
              1731 Village Center Circle, Suite 150




                                                           respective undersigned counsel, hereby stipulate and agree as follows:
                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                   A.       Debtor Infinity Capital Management, Inc. (“Debtor” or “Infinity”) filed its voluntary
                        (702) 471-7432




                                                      13
                                                           chapter 7 petition in the United States Bankruptcy Court for the District of Nevada (the “Bankruptcy
                                                      14
                                                           Court”) on September 14, 2021 (the “Petition Date”), commencing the above-referenced, chapter 7
                                                      15
                                                           bankruptcy case, (the “Bankruptcy Case”).
                                                      16
                                                                   B.       Shortly after the Petition Date, a dispute arose between HASelect and Tecumseh
                                                      17
                                                           regarding their respective claims to certain accounts receivable that are identified in documents
                                                      18
                                                           filed in the Bankruptcy Case at ECF Nos. 201-1 and 201-2 (the “Portfolio”).1
                                                      19
                                                                   C.       The above-referenced dispute resulted in the filing the instant Adversary
                                                      20
                                                           Proceeding by HASelect on October 19, 2021. Tecumseh subsequently asserted counterclaims
                                                      21
                                                           against both HASelect and Chapter 7 Trustee Robert Atkinson (the “Trustee”), who later asserted
                                                      22
                                                           a counterclaim against Tecumseh.
                                                      23
                                                                   D.       On or about January 31, 2022, HASelect and Tecumseh (with the consent and
                                                      24
                                                           approval of the Trustee) entered into a servicing agreement and escrow agreement with TPL
                                                      25

                                                      26   1
                                                             The Portfolio is made up of the accounts receivable described as the “Tecumseh Receivables” in the Sale Order
                                                           (defined below) and in the Amended Declaration of Chad Meyer filed in the Bankruptcy Case at ECF No. 201 and, as
                                                      27   such, includes all accounts receivable identified in “Exhibit A” [BK ECF No. 201-1] and, to the extent marked as
                                                           assigned to Tecumseh, “Exhibit B” [BK ECF No. 201-2] to such declaration.
                                                      28

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                                                       1   Claims Management, LLC (“TPL”) under which they jointly engaged TPL to service and collect

                                                       2   the Portfolio and to hold the proceeds of the Portfolio in escrow pending the final resolution of

                                                       3   claims and counterclaims asserted in this Adversary Proceeding.

                                                       4          E.       On February 11, 2022, the Bankruptcy Court entered an order in the Bankruptcy

                                                       5   Case [BK ECF No. 184] (the “Sale Order”) approving the sale by the Trustee to HASelect of all

                                                       6   rights, title, interests, and claims held by Infinity’s bankruptcy estate in the Portfolio, if any, free

                                                       7   and clear of all liens, claims, and other encumbrances, excepting only HASelect and Tecumseh’s

                                                       8   respective claims to the Portfolio.

                                                       9          F.       On May 23, 2022, the Bankruptcy Court entered an order in this Adversary

                                                      10   Proceeding [ECF No. 81] granting a motion brought by the Trustee pursuant to the Sale Order

                                                      11   seeking to substitute HASelect to the Trustee’s position in this Adversary Proceeding thereby
              1731 Village Center Circle, Suite 150




                                                      12   removing the Trustee from this Adversary Proceeding.
                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




                                                      13          G.       HASelect and Tecumseh enter into this Stipulation to facilitate the servicing and

                                                      14   collection of the Portfolio by TPL and to preserve the value of the Portfolio during the adjudication

                                                      15   of this Adversary Proceeding.

                                                      16          NOW, THEREFORE, IT IS HEREBY AGREED AND STIPULATED THAT:

                                                      17          1.       The above recitals to this Stipulation are incorporated herein as part of this

                                                      18   Stipulation.

                                                      19          2.       TPL shall be authorized and empowered to take commercially reasonable actions,

                                                      20   subject to and as allowed under its agreements with HASelect and Tecumseh, to effectuate the

                                                      21   servicing and collection of the Portfolio and to hold the proceeds of the Portfolio in escrow pending

                                                      22   the final resolution of all claims and counterclaims asserted in this Adversary Proceeding as

                                                      23   contemplated under such agreements.

                                                      24          3.       Any person obligated as to payment of any account receivable included in the Portfolio

                                                      25   shall be authorized and directed to remit payment when due directly to TPL at such location as TPL

                                                      26   may instruct.

                                                      27          4.       TPL shall be authorized to endorse and negotiate any check remitted in payment of

                                                      28

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                                                       1   any of the account receivable included in the Portfolio, including any check made payable to Infinity,

                                                       2   Infinity Health Connection, Infinity Health Solutions, LLC, or Buena Vista Rx.

                                                       3           5.      HASelect and Tecumseh consent to the entry of an order approving this Stipulation

                                                       4   in substantially the same form as Exhibit 1 attached hereto.

                                                       5           6.      The Bankruptcy Court shall retain jurisdiction to interpret and enforce the provisions

                                                       6   of this Stipulation.

                                                       7
                                                            Dated: June 17, 2022                              Dated: June 17, 2022
                                                       8
                                                            SHEA LARSEN                                       AKERMAN LLP
                                                       9
                                                            /s/ Bart K. Larsen, Esq.                           /s/ Michael D. Napoli, Esq.
                                                      10    BART K. LARSEN, ESQ.                              MICHAEL D. NAPOLI, ESQ.
                                                            Nevada Bar No. 8538                               (admitted pro hac vice)
                                                      11                                                      ARIEL E. STERN, ESQ.
              1731 Village Center Circle, Suite 150




                                                            Attorney for HASelect-Medical Receivables         Nevada Bar No. 8276
                                                      12    Litigation Finance Fund International SP
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                                              Attorneys for Tecumseh–Infinity Medical
                        (702) 471-7432




                                                      13                                                      Receivable Fund, LP
                                                      14

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                                                                                          CERTIFICATE OF SERVICE
                                                       1
                                                             1. On June 17, 2022, I served the following document(s): STIPULATION REGARDING
                                                       2        SERVICING AND COLLECTION OF ACCOUNTS RECEIVABLE
                                                       3     2. I served the above document(s) by the following means to the persons as listed below:
                                                       4        ☒       a.     ECF System:
                                                       5        CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                                clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       6
                                                                GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                       7        RECEIVABLES FUND, LP
                                                                ggordon@gtg.legal, bknotices@gtg.legal
                                                       8
                                                                GABRIELLE A. HAMM on behalf of TECUMSEH-INFINITY MEDICAL
                                                       9        RECEIVABLES FUND, LP
                                                                ghamm@Gtg.legal, bknotices@gtg.legal
                                                      10
                                                                MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                      11        RECEIVABLES FUND, LP
              1731 Village Center Circle, Suite 150




                                                                michael.napoli@akerman.com,
                                                      12        cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras@akerm
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                an.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
                        (702) 471-7432




                                                      13
                                                                ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL RECEIVABLES
                                                      14        FUND, LP
                                                                ariel.stern@akerman.com, akermanlas@akerman.com
                                                      15
                                                                ☐       b.     United States mail, postage fully prepaid:
                                                      16
                                                                ☐       c.     Personal Service:
                                                      17
                                                                I personally delivered the document(s) to the persons at these addresses:
                                                      18
                                                                       ☐       For a party represented by an attorney, delivery was made by handing the
                                                      19        document(s) at the attorney’s office with a clerk or other person in charge, or if no one is in
                                                                charge by leaving the document(s) in a conspicuous place in the office.
                                                      20
                                                                       ☐       For a party, delivery was made by handling the document(s) to the party or
                                                      21        by leaving the document(s) at the person’s dwelling house or usual place of abode with
                                                                someone of suitable age and discretion residing there.
                                                      22
                                                                ☐       d.      By direct email (as opposed to through the ECF System):
                                                      23        Based upon the written agreement of the parties to accept service by email or a court order,
                                                                I caused the document(s) to be sent to the persons at the email addresses listed below. I did
                                                      24        not receive, within a reasonable time after the transmission, any electronic message or other
                                                                indication that the transmission was unsuccessful.
                                                      25
                                                                ☐       e.     By fax transmission:
                                                      26
                                                                Based upon the written agreement of the parties to accept service by fax transmission or a
                                                      27        court order, I faxed the document(s) to the persons at the fax numbers listed below. No
                                                                error was reported by the fax machine that I used. A copy of the record of the fax
                                                      28

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                                                                transmission is attached.
                                                       1
                                                                ☐      f.      By messenger:
                                                       2
                                                                I served the document(s) by placing them in an envelope or package addressed to the
                                                       3        persons at the addresses listed below and providing them to a messenger for service.
                                                       4        I declare under penalty of perjury that the foregoing is true and correct.
                                                       5        Dated: June 17, 2022.
                                                       6                                              By: /s/ Bart K. Larsen, Esq,
                                                       7

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              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




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                                        EXHIBIT 1
                                                           Case 21-01167-abl       Doc 85     Entered 06/17/22 13:03:33    Page 8 of 10




                                                       1

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                                                       6

                                                       7   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       8   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       9   SHEA LARSEN
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                                                           Telephone: (702) 471-7432
                                                      11   Fax: (702) 926-9683
              1731 Village Center Circle, Suite 150




                                                           Email: blarsen@shea.law
                                                      12            kwyant@shea.law
                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




                                                      13   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                      14                            UNITED STATES BANKRUPTCY COURT
                                                      15
                                                                                              DISTRICT OF NEVADA
                                                      16
                                                           In re:
                                                      17
                                                           INFINITY CAPITAL MANAGEMENT, INC.                   Case No. 21-14486-abl
                                                      18
                                                                                 Debtor.                       Chapter 7
                                                      19

                                                      20   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND                             Adversary Case No. 21-01167-abl
                                                      21   INTERNATIONAL SP,
                                                      22                         Plaintiff,
                                                                                                                      ORDER APPROVING
                                                      23   v.                                                     STIPULATION REGARDING
                                                                                                                 SERVICING AND COLLECTION
                                                      24   TECUMSEH–INFINITY MEDICAL                              OF ACCOUNTS RECEIVABLE
                                                           RECEIVABLES FUND, LP,
                                                      25
                                                                                Defendant.
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                                                       1   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       2
                                                                                    Counter-Claimant
                                                       3
                                                           v.
                                                       4
                                                           HASELECT-MEDICAL RECEIVABLES
                                                       5   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP
                                                       6
                                                                                    Counter-Defendants.
                                                       7

                                                       8   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                       9   INTERNATIONAL SP,
                                                      10                             Counter-Claimant,
                                                      11   v.
              1731 Village Center Circle, Suite 150




                                                      12   TECUMSEH–INFINITY MEDICAL
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                           RECEIVABLES FUND, LP,
                        (702) 471-7432




                                                      13
                                                                                     Counter-Defendant.
                                                      14

                                                      15
                                                               ORDER APPROVING STIPULATION REGARDING SERVICING AND COLLECTION
                                                      16                           OF ACCOUNTS RECEIVABLE

                                                      17           The Court, having considered the Stipulation Regarding Servicing and Collection of

                                                      18   Accounts Receivable entered into by and between HASelect-Medical Receivables Litigation

                                                      19   Finance Fund International SP (“HASelect”) and Tecumseh-Infinity Medical Receivable Fund,

                                                      20   LP’s (“Tecumseh”) and filed in this Adversary Proceeding at ECF No. ___ (the “Stipulation”),

                                                      21   and good cause appearing, IT IS HEREBY ORDERED:

                                                      22           1.       The Stipulation is APPROVED;

                                                      23           2.       TPL Claims Management, LLC (“TPL”) is hereby authorized and empowered to

                                                      24   take commercially reasonable actions, subject to and as allowed under its agreements with

                                                      25   HASelect and Tecumseh, to effectuate the servicing and collection of the Portfolio1 and to hold

                                                      26   1
                                                            The Portfolio is made up of the accounts receivable described as the “Tecumseh Receivables” in the Sale Order [BK
                                                           ECF No. 184] and in the Amended Declaration of Chad Meyer filed in the Bankruptcy Case at ECF No. 201 and, as
                                                      27   such, includes all accounts receivable identified in “Exhibit A” [BK ECF No. 201-1] and, to the extent marked as
                                                           assigned to Tecumseh, “Exhibit B” [BK ECF No. 201-2] to such declaration.
                                                      28

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                                                       1   the proceeds of the Portfolio in escrow pending the final resolution of all claims and counterclaims

                                                       2   asserted in this Adversary Proceeding as contemplated under such agreements;

                                                       3          3.      Any person obligated as to payment of any account receivable included in the

                                                       4   Portfolio is hereby authorized and directed to remit payment when due directly to TPL at such

                                                       5   location as TPL may instruct;

                                                       6          4.      TPL is hereby authorized to endorse and negotiate any check remitted in payment

                                                       7   of any account receivable included in the Portfolio, including any check made payable to Infinity,

                                                       8   Infinity Health Connection, Infinity Health Solutions, LLC, or Buena Vista Rx; and

                                                       9          5.      This Court shall retain jurisdiction to interpret and enforce the provisions of this

                                                      10   Order and the Stipulation.

                                                      11
              1731 Village Center Circle, Suite 150




                                                      12          IT IS SO ORDERED.
                   Las Vegas, Nevada 89134
SHEA LARSEN

                        (702) 471-7432




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                                                      17
                                                           Respectfully submitted:
                                                      18
                                                           SHEA LARSEN
                                                      19
                                                           /s/
                                                      20   BART K. LARSEN, ESQ.
                                                           Nevada Bar No. 8538
                                                      21
                                                           Attorney for HASelect-Medical Receivables
                                                      22   Litigation Finance Fund International SP
                                                      23

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